                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

In re:                                                     )    Chapter 11
                                                           )
Squirrels Research Labs LLC, et al.,1                      )    Case No. 21- 61491
                                                           )    (Jointly Administered)
                           Debtors.                        )
                                                           )    Judge Russ Kendig


                   NOTICE OF HEARING ON CONFIRMATION OF THE
                  AMENDED PLAN OF SQUIRRELS RESEARCH LABS LLC
                    DATED JUNE 2, 2022 AND RELATED DEADLINES

      PLEASE TAKE NOTICE THAT on June 2, 2022, Squirrels Research Labs LLC (the
“Debtor”), one of the above-captioned debtors, filed an Amended Plan of Liquidation (the
“Amended Plan”).

       PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider confirmation of the Amended Plan (the “Confirmation Hearing”) will commence on
July 12, 2022 at 2:00 p.m. (ET), before the Honorable Russ Kendig, United States Bankruptcy
Judge, Ralph Regula Federal Building and U.S. Courthouse, 401 McKinley Avenue, SW, Canton,
Ohio 44702, Dial In: (888) 684-8852; Access Code: 3303949#.2; provided however, the Court
may continue the hearing without further notice.

        PLEASE TAKE FURTHER NOTICE THAT a copy of the Amended Plan is enclosed
with this Notice. A redline copy of the Amended Plan is available upon written request to counsel
at jzurn@brouse.com.

       Your rights may be affected. You should read the Amended Plan carefully and
discuss it with your attorney, if you have one in these bankruptcy cases. (If you do not have
an attorney, you may wish to consult one.)

                                  OBJECTING TO AMENDED PLAN

       PLEASE TAKE NOTICE THAT the deadline for filing objections to confirmation of
the Amended Plan is July 5, 2022 (the “Plan Objection Deadline”). Any objection to the Amended
Plan must be in writing, filed with the Court, and served on Debtor’s counsel at the address listed
below so as to be actually received on or before Plan Objection Deadline.

1
  The “Debtors” in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.
2
  For further details on telephonic participation, please refer to Judge Kendig’s Notice of Telephonic Hearing
Procedure, dated March 18, 2020, at https://www.ohnb.uscourts.gov/sites/default/files/memoranda/telephonic-
hearing-procedure-31820.pdf




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        PLEASE TAKE FURTHER NOTICE THAT all items to be filed with the Court shall
be filed at the following address:

                                        Clerk of Court
                                        U.S. Bankruptcy Court
                                        Ralph Regula Federal Building
                                           and U.S. Courthouse
                                        401 McKinley Avenue, SW
                                        Canton, Ohio 44702

          All items to be served on Debtor’s counsel shall be served at the following address:

                                        Brouse McDowell, LPA
                                        c/o Julie K. Zurn
                                        388 South Main Street, Suite 500
                                        Akron, Ohio 44311
                                        Phone: (330) 434-7459
                                        Fax: (330) 253-8601
                                        jzurn@brouse.com

        If you mail your response to the Court for filing, you must mail it early enough so the Court
will receive it on or before the corresponding deadline.

          You or your attorney must also attend the Confirmation Hearing scheduled above.

        If you or your attorney do not take these steps, the Court may decide that you do not
oppose the Amended Plan and may enter an order confirming the Amended Plan and granting
any related relief.

DATED: June 6, 2022                                    Respectfully submitted,

                                                       /s/ Julie K. Zurn
                                                       Marc B. Merklin (0018195)
                                                       Julie K. Zurn (0066391)
                                                       BROUSE McDOWELL, LPA
                                                       388 S. Main Street, Suite 500
                                                       Akron, Ohio 44311
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                                                       Counsel for Squirrels Research Labs LLC,
                                                       the Debtor and Debtor-in-Possession
1480473




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